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)URP                              :LQQ6DUD 86$9$: 6DUD:LQQ#XVGRMJRY!
6HQW                              0RQGD\-XQH30
7R                                6LHJHO-RVKXD
&F                                5LFKHU$PEHU &,9 %XEDU'DQLHO 86$9$: %RFNKRUVW-HQQLIHU 86$9$: 
                                   3DGPDQDEKDQ.DUWLF 2*&  )%, NDUHQPOHHE#FESGKVJRY
6XEMHFW                           ):8QLWHGWKH5LJKW5DOO\DQG5$0'RFXPHQWV



>([WHUQDO@

-RVK7KDQN\RXIRUVSHDNLQJZLWK$PEHUDQGPHWKLVPRUQLQJ
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%DVHGXSRQRXUFRQYHUVDWLRQZHXQGHUVWDQGWKDW\RXDUHVWLOOUHTXHVWLQJWKHIROORZLQJWZRFDWHJRULHVRI
LQIRUPDWLRQZLWKUHVSHFWWRZKDW\RXKDYHUHIHUUHGWRDVWKH)LHOGVDQG5$0GHIHQGDQWV

&DWHJRU\ ³)LHOGV´ 
&ƌŽŵ&/ͲͲ  GDWDIURPSKRQHFRPSXWHURURWKHUHOHFWURQLFGHYLFHVWKH)%,FROOHFWHGIURP)LHOGV  
)LHOG¶VVRFLDOPHGLDLQIRUPDWLRQWKH)%,REWDLQHGGLUHFWO\IURP)DFHERRNDQG  )LHOG¶VHPDLOVWKH)%,
REWDLQHGGLUHFWO\IURPJPDLO
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IURPLQVLGHIHGHUDOSULVRQEXWXQGHUVWDQGWKDWUHTXHVWLVRXWVLGHWKHVFRSHRIWKLVVXESRHQDDQGUHTXLUHVDTouhy
UHTXHVWWRWKH)HGHUDO%XUHDXRI3ULVRQV
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&DWHJRU\ ³'DOH\´ 
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)%,REWDLQHGGLUHFWO\IURP)DFHERRNDQG
              )URP&%3ͲͲUHSRUWZULWWHQE\'+6&%3IURPWKHLULQWHUYLHZZLWK'DOH\
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/ĨƚŚŝƐƵŶĚĞƌƐƚĂŶĚŝŶŐŝƐŝŶĐŽƌƌĞĐƚ͕ƉůĞĂƐĞĂĚǀŝƐĞŝŵŵĞĚŝĂƚĞůǇƐŽƚŚĞĂŐĞŶĐŝĞƐĐĂŶŵĂŬĞƚŚĞŶĞĐĞƐƐĂƌǇĂƐƐĞƐƐŵĞŶƚƐ
ǁŝƚŚŽƵƚĚĞůĂǇ͘
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$VGLVFXVVHGZLWKUHVSHFWWR&DWHJRU\WKH)%,UHVSRQGHGWR\RXUVXESRHQDE\GHQ\LQJWKHUHTXHVW
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FRQWLQXHWRGLVFXVV\RXUUHTXHVWZLWKWKH)%,ZKLFKZLOOLVVXHDUHVSRQVHWR\RXUVXESRHQDIRUWKH
&DWHJRU\LQIRUPDWLRQ
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,QWKHPHDQWLPHDVGLVFXVVHGDOWKRXJK\RXVWDWHGWKDW\RXKDYHQRWDWWHPSWHGWRREWDLQWKHUHTXHVWHGVRFLDO
PHGLDLQIRUPDWLRQIURPDWKLUGSDUW\YHQGRUZHQRWHWKDWDTXLFN,QWHUQHWVHDUFK\LHOGHGVHYHUDOVHDUFKUHVXOWV
IRUVRFLDOPHGLDDUFKLYLQJFRPSDQLHVVXFKDV6PDVKFRP$UFKLYHVRFLDOFRPDQG3DJHIUHH]HUFRP:HZRXOG
UHIHU\RXWRWKRVHVRXUFHV
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7KDQN\RX
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Sara Bugbee Winn
Assistant United States Attorney
Cell 540-293-2235
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&ƌŽŵ͗tŝŶŶ͕^ĂƌĂ;h^stͿф^tŝŶŶΛƵƐĂ͘ĚŽũ͘ŐŽǀх
^ĞŶƚ͗DŽŶĚĂǇ͕:ƵŶĞϮϵ͕ϮϬϮϬϭϬ͗ϮϱD
dŽ͗^ŝĞŐĞů͕:ŽƐŚƵĂфũƐŝĞŐĞůΛĐŽŽůĞǇ͘ĐŽŵх͖ZŝĐŚĞƌ͕ŵďĞƌ;/sͿфĂŵƌŝĐŚĞƌΛ/s͘h^K:͘'Ksх
^ƵďũĞĐƚ͗&t͗hŶŝƚĞĚƚŚĞZŝŐŚƚZĂůůǇĂŶĚZDŽĐƵŵĞŶƚƐ
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Sara Bugbee Winn
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&ƌŽŵ͗DŝĐŚĂĞůůŽĐŚфŵďůŽĐŚΛŬĂƉůĂŶŚĞĐŬĞƌ͘ĐŽŵх
^ĞŶƚ͗&ƌŝĚĂǇ͕DĂƌĐŚϮϬ͕ϮϬϮϬϭϭ͗ϱϱWD
dŽ͗tŝŶŶ͕^ĂƌĂ;h^stͿф^tŝŶŶΛƵƐĂ͘ĚŽũ͘ŐŽǀх
Đ͗^ŝĞŐĞů͕:ŽƐŚƵĂфũƐŝĞŐĞůΛĐŽŽůĞǇ͘ĐŽŵх͖tŝƚŚĞƌƐ͕EĂŶĐǇ;h^stͿфEtŝƚŚĞƌƐΛƵƐĂ͘ĚŽũ͘ŐŽǀх͖ƵďĂƌ͕ĂŶŝĞů;h^stͿ
фƵďĂƌΛƵƐĂ͘ĚŽũ͘ŐŽǀх͖DŝůůƐ͕ĂǀŝĚфĚŵŝůůƐΛĐŽŽůĞǇ͘ĐŽŵх͖WĂĚŵĂŶĂďŚĂŶ͕<ĂƌƚŝĐ;K'Ϳ;&/Ϳ
ф<WDE,EΛĨďŝ͘ŐŽǀх͖ŬĂƌĞŶ͘ŵ͘ůĞĞďΛĐďƉ͘ĚŚƐ͘ŐŽǀ
^ƵďũĞĐƚ͗Z͗hŶŝƚĞĚƚŚĞZŝŐŚƚZĂůůǇĂŶĚZDŽĐƵŵĞŶƚƐ
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^ĂƌĂ͕ƚŚĂŶŬƐǀĞƌǇŵƵĐŚ͘/ůŽŽŬĨŽƌǁĂƌĚƚŽǇŽƵƌƌĞƐƉŽŶƐĞ͘
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/ĚŽŶ͛ƚďĞůŝĞǀĞ/ƌĞĐĞŝǀĞĚĂŶǇƌĞƐƉŽŶƐĞĨƌŽŵW͕ŚŽǁĞǀĞƌ͘/ƐƚŚĞƌĞĂĐŽŶƚĂĐƚƚŚĞƌĞ/ĐŽƵůĚƌĞĂĐŚŽƵƚƚŽ͍
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,ŽƉĞǇŽƵ͛ƌĞƐƚĂǇŝŶŐƐĂĨĞ͊
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Michael Bloch | Kaplan Hecker & Fink LLP
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Counsel
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&ƌŽŵ͗tŝŶŶ͕^ĂƌĂ;h^stͿф^ĂƌĂ͘tŝŶŶΛƵƐĚŽũ͘ŐŽǀх
^ĞŶƚ͗DŽŶĚĂǇ͕DĂƌĐŚϭϲ͕ϮϬϮϬϭϬ͗ϱϳD
dŽ͗DŝĐŚĂĞůůŽĐŚфŵďůŽĐŚΛŬĂƉůĂŶŚĞĐŬĞƌ͘ĐŽŵх
Đ͗^ŝĞŐĞů͕:ŽƐŚƵĂфũƐŝĞŐĞůΛĐŽŽůĞǇ͘ĐŽŵх͖tŝƚŚĞƌƐ͕EĂŶĐǇ;h^stͿфEĂŶĐǇ͘tŝƚŚĞƌƐΛƵƐĚŽũ͘ŐŽǀх͖ƵďĂƌ͕ĂŶŝĞů
;h^stͿфĂŶŝĞů͘ƵďĂƌΛƵƐĚŽũ͘ŐŽǀх͖DŝůůƐ͕ĂǀŝĚфĚŵŝůůƐΛĐŽŽůĞǇ͘ĐŽŵх͖WĂĚŵĂŶĂďŚĂŶ͕<ĂƌƚŝĐ;K'Ϳ;&/Ϳ
ф<WDE,EΛĨďŝ͘ŐŽǀх͖ŬĂƌĞŶ͘ŵ͘ůĞĞďΛĐďƉ͘ĚŚƐ͘ŐŽǀ
^ƵďũĞĐƚ͗Z͗hŶŝƚĞĚƚŚĞZŝŐŚƚZĂůůǇĂŶĚZDŽĐƵŵĞŶƚƐ
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,ĞůůŽDŝĐŚĂĞůĂŶĚƚŚĂŶŬǇŽƵĨŽƌƚŚŝƐĂĚĚŝƚŝŽŶĂůĚĞƚĂŝů͘tĞƵŶĚĞƌƐƚĂŶĚWŚĂƐƐĞŶƚĂƌĞƐƉŽŶƐĞƚŽǇŽƵƌƌĞƋƵĞƐƚĨŽƌƚŚĞŝƌ
ĚŽĐƵŵĞŶƚƐďĂƐĞĚŽŶƚŚĞŝƌdŽƵŚǇƌĞŐƵůĂƚŝŽŶƐ͘tĞǁŝůůďĞŝƐƐƵŝŶŐĂƌĞƐƉŽŶƐĞǁŝƚŚƌĞŐĂƌĚƚŽƚŚĞ&/ĚŽĐƵŵĞŶƚƐƌĞƋƵĞƐƚĞĚ
ďĞůŽǁďĂƐĞĚŽŶƚŚĞK:dŽƵŚǇƌĞŐƵůĂƚŝŽŶƐ͘ŽŶƐŝĚĞƌŝŶŐƚŚĞĐŽŵƉůŝĐĂƚŝŽŶƐƉƌĞƐĞŶƚĞĚďǇƚŚĞĐŽƌŽŶĂǀŝƌƵƐƚŚĞƌĞŵĂǇďĞ
ƐŽŵĞƵŶĂǀŽŝĚĂďůĞĚĞůĂǇƐŝŶŝƐƐƵŝŶŐŽƵƌƌĞƐƉŽŶƐĞ͕ďƵƚǁĞƌĞĐŽŐŶŝǌĞǇŽƵŚĂǀĞĂĚŝƐĐŽǀĞƌǇĚĞĂĚůŝŶĞŝŶ:ƵůǇĂŶĚǁŝůůĚŽ
ĞǀĞƌǇƚŚŝŶŐǁĞĐĂŶƚŽƉƌŽĐĞƐƐǇŽƵƌƌĞƋƵĞƐƚĞǆƉĞĚŝƚŝŽƵƐůǇ͘dŚĂŶŬǇŽƵŝŶĂĚǀĂŶĐĞĨŽƌǇŽƵƌƉĂƚŝĞŶĐĞ͘^ĂƌĂ͘
Sara Bugbee Winn
&ƌŽŵ͗DŝĐŚĂĞůůŽĐŚфŵďůŽĐŚΛŬĂƉůĂŶŚĞĐŬĞƌ͘ĐŽŵх
^ĞŶƚ͗&ƌŝĚĂǇ͕DĂƌĐŚϭϯ͕ϮϬϮϬϵ͗ϬϬWD
dŽ͗tŝŶŶ͕^ĂƌĂ;h^stͿф^tŝŶŶΛƵƐĂ͘ĚŽũ͘ŐŽǀх
Đ͗^ŝĞŐĞů͕:ŽƐŚƵĂфũƐŝĞŐĞůΛĐŽŽůĞǇ͘ĐŽŵх͖tŝƚŚĞƌƐ͕EĂŶĐǇ;h^stͿфEtŝƚŚĞƌƐΛƵƐĂ͘ĚŽũ͘ŐŽǀх͖ƵďĂƌ͕ĂŶŝĞů;h^stͿ
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фƵďĂƌΛƵƐĂ͘ĚŽũ͘ŐŽǀх͖DŝůůƐ͕ĂǀŝĚфĚŵŝůůƐΛĐŽŽůĞǇ͘ĐŽŵх͖WĂĚŵĂŶĂďŚĂŶ͕<ĂƌƚŝĐ;K'Ϳ;&/Ϳ
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^ƵďũĞĐƚ͗Z͗hŶŝƚĞĚƚŚĞZŝŐŚƚZĂůůǇĂŶĚZDŽĐƵŵĞŶƚƐ
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^ĂƌĂ͕ŵǇĂƉŽůŽŐŝĞƐĨŽƌƚŚĞĚĞůĂǇ͘ZĞƐƉŽŶƐĞƐƚŽǇŽƵƌĂĚĚŝƚŝŽŶĂůƋƵĞƐƚŝŽŶƐĂƌĞďĞůŽǁ͘/ŶĂŶĞĨĨŽƌƚƚŽƐƚƌĞĂŵůŝŶĞƚŚŝƐ
ƉƌŽĐĞƐƐĂŶĚŚŽƉĞĨƵůůǇƌĞĂĐŚĂŐƌĞĞŵĞŶƚ͕ǁĞŚĂǀĞƉĂƌĞĚĚŽǁŶƚŚĞƌĞƋƵĞƐƚƐƐƵďƐƚĂŶƚŝĂůůǇ͗
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    ϭ͘ dŚĞŝŶƚĞƌǀŝĞǁƌĞƉŽƌƚƐǁĞƐĞĞŬŝŶƌĞƋƵĞƐƚEŽƐ͘ϭĂŶĚϮ͘
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ZĞƋƵĞƐƚEŽ͘ϭ͘tĞƐĞĞŬƚŚĞƌĞƉŽƌƚ;ƐͿĂƐƐŽĐŝĂƚĞĚǁŝƚŚĞŶũĂŵŝŶĂůĞǇ͛ƐŝŶƚĞƌǀŝĞǁĐŽŶĚƵĐƚĞĚďǇƵƐƚŽŵƐĂŶĚŽƌĚĞƌ
WƌŽƚĞĐƚŝŽŶŽĨĨŝĐĞƌƐƌĞĨĞƌĞŶĐĞĚŝŶZƵŶĚŽŽŵƉůĂŝŶƚΒϭϲ͘hƉŽŶŝŶĨŽƌŵĂƚŝŽŶĂŶĚďĞůŝĞĨ͕ƚŚĂƚƌĞƉŽƌƚĚŝƐĐƵƐƐĞƐĐƌŝƚŝĐĂů
ƌĞƉƌĞƐĞŶƚĂƚŝŽŶƐŵĂĚĞďǇDƌ͘ĂůĞǇĐŽŶĐĞƌŶŝŶŐƚŚĞhŶŝƚĞƚŚĞZŝŐŚƚZĂůůǇŝŶŚĂƌůŽƚƚĞƐǀŝůůĞŽŶƵŐƵƐƚϭϭĂŶĚϭϮ͕ϮϬϭϳ͘
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ZĞƋƵĞƐƚEŽ͘Ϯ͘tĞǁŝůůǁŝƚŚĚƌĂǁƚŚŝƐƌĞƋƵĞƐƚ͘
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    Ϯ͘ dŚĞĐĞůůƉŚŽŶĞĚĂƚĂǁĞƐĞĞŬŝŶƌĞƋƵĞƐƚEŽ͘ϯ͘
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tĞƌĞƋƵĞƐƚƚŚĞĨŽůůŽǁŝŶŐƉŚŽŶĞĚĂƚĂ͕;ĂůůŽĨǁŚŝĐŚǁĂƐƉƌĞƐƵŵĂďůǇĐŽůůĞĐƚĞĚĨƌŽŵƚŚĞ͞ƐĞǀĞƌĂůĚŝŐŝƚĂůĚĞǀŝĐĞƐ͟
ƌĞĨĞƌĞŶĐĞĚŝŶZƵŶĚŽŽŵƉůĂŝŶƚΒϲŶ͘ϭͿ͗
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    x dŚĞDĂƌĐŚϮϱ͕ϮϬϭϳƚĞǆƚŵĞƐƐĂŐĞƐďĞƚǁĞĞŶĂůĞǇĂŶĚ͞ĂŶŽƚŚĞƌZDŵĞŵďĞƌ͟ŝŶǁŚŝĐŚĂůĞǇǁƌŽƚĞ͕͞&ƌŽŶƚ
        ƉĂŐĞŽĨƚŚĞƐƚŽƌŵĞƌǁĞĚŝĚŝƚĨĂŵ͘͟;^ĞĞZƵŶĚŽŽŵƉůĂŝŶƚΒϮϵ͘Ϳ
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    x dŚĞDĂƌĐŚϮϳ͕ϮϬϭϳƚĞǆƚŵĞƐƐĂŐĞƐďĞƚǁĞĞŶĂƐŽŶĂŶĚDŝƐĞůŝƐŝŶǁŚŝĐŚĂƐŽŶŝŶǀŝƚĞĚDŝƐĞůŝƐ͞ƚŽƚŚĞƌĂůůǇŝŶ
        ĞƌŬĞůĞǇŽŶƉƌŝůϭϱ͕ϮϬϭϳ͕͟ŝŶĐůƵĚŝŶŐ;ϭͿƚŚĞŵĞƐƐĂŐĞŝŶǁŚŝĐŚĂƐŽŶǁƌŽƚĞ͕͞/ƚ͛ƐĂƌŽŶĨƌŽŵƚŚĞ,ƌĂůůǇ͘/
        ǁĂŶƚĞĚƚŽůĞƚǇŽƵŬŶŽǁƚŚĂƚƚŚĞŽƌŐĂŶŝǌĞƌƐŽĨƚŚĞĨƌĞĞƐƉĞĞĐŚƌĂůůǇĂƚĞƌŬĞůĞǇŽŶƉƌŝůϭϱĂƌĞƉĂǇŝŶŐĨŽƌƌŽŽŵƐ
        ĨŽƌŽƵƌŐƵǇƐ͘͘͘͘tĞΖƌĞĞǆƉĞĐƚŝŶŐĂďŽƵƚϭϱƐŽůŝĚŐƵǇƐŝŶŽƵƌĐĂƌĂǀĂŶĐŽŵŝŶŐƵƉĨƌŽŵ^ŽĂůĂŶĚǁĞĐĂŶ
        ĂĐĐŽŵŽĚĂƚĞ΀ƐŝĐ΁ĂƐŵĂŶǇĂƐǇŽƵĐĂŶŐŝǀĞ͘YƵĂůŝƚǇŽŶůǇŽĨĐŽƵƌƐĞ͘/ĨǇŽƵŚĂǀĞŐŽŽĚƉĞŽƉůĞǁŚŽĂƌĞŶ͛ƚĐƵƚŽƵƚĨŽƌ
        ƐĞĐƵƌŝƚǇ͕ƚŚĞŽƌŐĂŶŝǌŝĞƌƐ΀ƐŝĐ΁ĂƌĞůŽŽŬŝŶŐĨŽƌƉĞŽƉůĞƚŽĨŝůůƌŽůĞƐůŝŬĞƉŚŽƚŽŐƌĂƉŚǇ͘ŶǇŽŶĞǁŚŽĚŽĞƐŶ͛ƚĐŽŵĞǁŝůů
        ǁŝƐŚƚŚĞǇŚĂĚ͘KŚĂŶĚǁĞŚĂǀĞŚĂŶĚƚŽŚĂŶĚĂŶĚĨŽƌŵĂƚŝŽŶĨŝŐŚƚŝŶŐƚƌĂŝŶŝŶŐŝŶ^ĂŶůĞŵĞŶƚĞƚŚŝƐ^ĂƚƵƌĚĂǇ͘/ƚ͛Ɛ
        ŶŽƚƌĞƋƵŝƌĞĚ͕ďƵƚǁĞ͛ĚůŝŬĞƚŽŐĞƚĞǀĞƌǇŽŶĞǁĞĐĂŶƚŚĞƌĞ͘͟;^ĞĞZƵŶĚŽŽŵƉůĂŝŶƚΒϯϮ͘Ϳ
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        ƌĂůůǇ͕͟DŝƐĞůŝƐƌĞƉůŝĞĚ͕͞ZŝŐŚƚŽŶ͕ĂƌŽŶĨƌŽŵƚŚĞƌĂůůǇŵĞŶƚŝŽŶĞĚƐŽŵĞĨŽůŬƐǁĞƌĞŐŽŝŶŐƵƉ͘/͛ůůĚƌŽƉƚŚĞůŝŶĞŽŶ
        ŽƵƌĞŶĚĂŶĚƐĞĞŝĨĂŶǇŽŶĞĞůƐĞĐĂŶŵĂŬĞŝƚ͕͟ĂŶĚĂůĞǇƌĞƐƉŽŶĚĞĚ͕͞WƌĞĐŝĂƚĞ΀ƐŝĐ΁ǁĞŶĞĞĚĂůůŚĞĂĚƐǁĞĐĂŶŐĞƚ͘͟
        ;^ĞĞZƵŶĚŽŽŵƉůĂŝŶƚΒϯϯ͘Ϳ
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    x dŚĞDĂƌĐŚϮϵ͕ϮϬϭϳƚĞǆƚŵĞƐƐĂŐĞƐďĞƚǁĞĞŶĂƐŽŶĂŶĚDŝƐĞůŝƐŝŶǁŚŝĐŚĂƐŽŶǁƌŽƚĞ͕͞dƌĂŝŶŝŶŐŝƐĂŐŽ͘^ĂƚƵƌĚĂǇ
        ĂƚϭϭĂŵ͘DĂƌďůĞŚĞĂĚWĂƌŬ͕^ĂŶůĞŵĞŶƚĞ͘͘͘͘tĞ͛ůůƉƌŽďĂďůǇŚĂǀĞĞƋƵŝƉŵĞŶƚĨŽƌƐŚŝĞůĚĂŶĚƐƚŝĐŬƚƌĂŝŶŝŶŐĂŶĚ
        ŽƵƌĨŽƌŵĂƚŝŽŶƚĂĐƚŝĐƐƌĞĂĚǇ͘͟;^ĞĞZƵŶĚŽŽŵƉůĂŝŶƚΒϯϰ͘Ϳ
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    x dŚĞƉƌŝůϭϮ͕ϮϬϭϳ͕ƚĞǆƚŵĞƐƐĂŐĞƐďĞƚǁĞĞŶĂůĞǇĂŶĚDŝƐĞůŝƐŝŶǁŚŝĐŚĂůĞǇǁƌŽƚĞ͕͞'ŽƚĂϭϭǀĂŶƌĞƐĞƌǀĞĚĨŽƌ
        &ƌŝĚĂǇ͘ƐŬŝŶŐĞǀĞƌǇŽŶĞƚŽŬŝĐŬŝŶϮϬŽƌϰϬ͘dŚŝŶŬŝŶŐŽĨůĞĂǀŝŶŐĂƌŽƵŶĚϭϭϯϬ͘ŽĞƐƚŚĂƚƚŝŵĞǁŽƌŬĨŽƌǇŽƵ͍͟ĂŶĚ
        DŝƐĞůŝƐƌĞƉůŝĞĚ͕͞ďƐŽůƵƚĞůǇ͘͟;^ĞĞZƵŶĚŽŽŵƉůĂŝŶƚΒϯϱ͘Ϳ
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    x dŚĞƉƌŝůϭϲ͕ϮϬϭϳƚĞǆƚŵĞƐƐĂŐĞƐďĞƚǁĞĞŶDŝƐĞůŝƐĂŶĚ͞ĂŶŽƚŚĞƌZDŵĞŵďĞƌ͟ƌĞĨĞƌĞŶĐŝŶŐ͞ĂǀŝĚĞŽƐŚŽǁŝŶŐ
        DŝƐĞůŝƐĂƚƚŚĞĞƌŬĞůĞǇĞǀĞŶƚ͕͟ŝŶĐůƵĚŝŶŐƚŚĞŵĞƐƐĂŐĞƐŝŶǁŚŝĐŚ;ϭͿDŝƐĞůŝƐǁƌŽƚĞ͕͞,ĞůůǇĞĂŚŵĂŶ͘/ǁĂƐĂďŽƵƚƚŽ
        ũƵŵƉŝŶƚŽƚŚĂƚďƵƚŽƵƌŐƵǇƐǁĞƌĞũƵƐƚǁƌĞĐŬŝŶŐƚŚĞŵ͕ůŝŬĞŶŽƚĞǀĞŶĂŶǇƌŽŽŵƚŽŐĞƚĂŚŝƚŝŶ͘/ǁĂƐůŝŬĞĂůƌŝƚĞ͕Ƶ
        ŐƵǇƐŐŽƚŝƚŚĂŶĚůĞĚƚŚĞŶůŽů͕͟;ϮͿDŝƐĞůŝƐĚĞƐĐƌŝďĞĚ͞ŚŽǁŽŶĞŽĨƚŚĞŐƵǇƐ͚ƵƉƚŚĞŝƌĨŝŐŚƚŝŶŐǁŝƚŚƵƐ͘͘͘ǁĂƐƉƌĞƚƚǇ
        ďĂƐĞĚƚŽŽ͕ĂƉƉĂƌĞŶƚůǇŚĞŚŝƚĂŶĂŶƚŝĨĂƐŽŚĂƌĚŚĞĚŝƐůŽĐĂƚĞĚŚŝƐƐŚŽƵůĚĞƌ͕͛͟;ϯͿDŝƐĞůŝƐǁƌŽƚĞ͕͞/͛ǀĞďĞĞŶĚĞĂůŝŶŐ
        ǁŝƚŚŵǇŚĂŶĚĂůůĚĂǇ͘:ƵƐƚĨŽƵŶĚĂǀŝĚĞŽŽŶƚŚĂƚƐŝƚĞǁŚĞƌĞǇŽƵĐĂŶƐĞĞŵĞďƌĞĂŬŝŶŐŝƚŽŶĂŐƵǇƐŚĞĂĚůŽů͕͟;ϰͿ
        ͞ƚŚĞŽƚŚĞƌZDŵĞŵďĞƌ͟ƌĞƐƉŽŶĚĞĚ͕͞/͛ǀĞďĞĞŶůŽŽŬŝŶŐĂƚǀŝĚĞŽƐ͘dŚĞƌĞ͛ƐĂŐƌĞǇͲƐŚŝƌƚĞĚƐƚŽƌŵƚƌŽŽƉĞƌĂƚƚŚĞ
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                                        31022
       ĨƵĐŬŝŶŐĨƌŽŶƚĞǀĞƌǇ͕ƐŝŶŐůĞ͕ƚŝŵĞ͘zŽƵŐƵǇƐǁĞƌĞůŝŽŶƐ͕͟ĂŶĚ;ϱͿDŝƐĞůŝƐƌĞƉůŝĞĚ͕͞dŽƚĂůƌǇĂŶǀŝĐƚŽƌǇ͘͟;^ĞĞZƵŶĚŽ
       ŽŵƉůĂŝŶƚΒϰϯ͘Ϳ
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    x dŚĞƉƌŝůϮϭ͕ϮϬϭϳƚĞǆƚŵĞƐƐĂŐĞƐďĞƚǁĞĞŶĂƐŽŶĂŶĚDŝƐĞůŝƐŝŶǁŚŝĐŚĂƐŽŶ͞ĂƐŬ΀ĞĚ΁ŝĨ΀DŝƐĞůŝƐ͛Ɛ΁ďƌŽŬĞŶŚĂŶĚ
       ǁĂƐƐƚƌŽŶŐĞŶŽƵŐŚƚŽĂƚƚĞŶĚĂŶŽƚŚĞƌĞǀĞŶƚĂƚĞƌŬĞůĞǇŽŶƉƌŝůϮϳ͕͟ĂŶĚǁƌŽƚĞ͕͞/͛ŵĚƌŝǀŝŶŐƵƉƚŽĚĞŶǇĂŶƚŝĨĂĂ
       ĨĂĐĞͲƐĂǀŝŶŐǀŝĐƚŽƌǇ͘͟;^ĞĞZƵŶĚŽŽŵƉůĂŝŶƚΒϰϰ͘Ϳ
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    x dŚĞƚĞǆƚŵĞƐƐĂŐĞƐƌĞĨůĞĐƚŝŶŐƚŚĂƚ͞ďĞƚǁĞĞŶƉƌŝůĂŶĚƵŐƵƐƚϮϬϭϳ͕ZDŵĞŵďĞƌƐĞŶŐĂŐĞĚŝŶƌĞŐƵůĂƌĐŽŵďĂƚ
       ƚƌĂŝŶŝŶŐƐĞƐƐŝŽŶƐĂŶĚĂƚƚĞŶĚĞĚĂĚĚŝƚŝŽŶĂůƉŽůŝƚŝĐĂůĞǀĞŶƚƐǁŚĞƌĞƚŚĞǇĐŽŶĨƌŽŶƚĞĚĐŽƵŶƚĞƌͲƉƌŽƚĞƐƚŽƌƐĂŶĚŽƚŚĞƌƐ
       ǁŚŽĚŽŶŽƚƐŚĂƌĞƚŚĞŝƌŝĚĞŽůŽŐǇ͕͟ŝŶĐůƵĚŝŶŐƚŚĞ:ƵŶĞϭϯ͕ϮϬϭϳƚĞǆƚŵĞƐƐĂŐĞĞǆĐŚĂŶŐĞďĞƚǁĞĞŶĞŶĂůĞǇĂŶĚĂŶ
       ĂƐƐŽĐŝĂƚĞŝŶǁŚŝĐŚĂůĞǇǁƌŽƚĞ͕͞tĞƐŵĂƐŚĞĚƐŽŵĞĂŶƚŝĨĂĂƐƚŚĞǇǁĞƌĞůĞĂǀŝŶŐ͕͟ĂŶĚ͞΀t΁ŽƵůĚ͛ǀĞďĞĞŶŶŽ
       ǀŝĐƚŽƌǇŝŶ,ƵŶƚŝŶŐƚŽŶŽƌĞƌŬĞůĞǇ͟ǁŝƚŚŽƵƚǁŚŝƚĞŶĂƚŝŽŶĂůŝƐƚƐ͘;^ĞĞZƵŶĚŽŽŵƉůĂŝŶƚΒϰϵ͘Ϳ
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    x dŚĞ:ƵůǇϮϱ͕ϮϬϭϳƚĞǆƚŵĞƐƐĂŐĞƐďĞƚǁĞĞŶZƵŶĚŽĂŶĚDŝƐĞůŝƐŝŶǁŚŝĐŚZƵŶĚŽǁƌŽƚĞ͕͞,ĞǇ͕ŝĨǇŽƵĐĂŶŐĞƚŝŶƚŽƵĐŚ
       ǁŝƚŚďĞŶ͕/ŵĂǇŚĂǀĞĂƉůĂĐĞĨŽƌǇŽƵŐƵǇƐƚŽƐƚĂǇŝŶŚĂƌůŽƚƚĞƐǀŝůůĞ͘͟;^ĞĞZƵŶĚŽŽŵƉůĂŝŶƚΒϱϮ͘Ϳ
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    x dŚĞ͞ZDŵĞŵďĞƌƐƚĞǆƚŵĞƐƐĂŐĞƐ͟ƌĞĨůĞĐƚŝŶŐƚŚĂƚ͞ZDŵĞŵďĞƌƐĐŽŶƚŝŶƵĞĚƚŽĞŶŐĂŐĞŝŶƌĞŐƵůĂƌĐŽŵďĂƚ
       ƚƌĂŝŶŝŶŐƐĞƐƐŝŽŶƐĂŶĚƉŽƐƚƉŚŽƚŽŐƌĂƉŚƐĂŶĚǀŝĚĞŽƐŽŶƐŽĐŝĂůŵĞĚŝĂƉƌŽŵŽƚŝŶŐƚŚĞŝƌĂƐƐĂƵůƚƐĂƚƉƌŝŽƌƌĂůůŝĞƐ͕͟
       ŝŶĐůƵĚŝŶŐ;ϭͿƚŚĞ^ĞƉƚĞŵďĞƌϮϱ͕ϮϬϭϳƚĞƐƚŵĞƐƐĂŐĞĞǆĐŚĂŶŐĞďĞƚǁĞĞŶĂƐŽŶĂŶĚDŝƐĞůŝƐŝŶǁŚŝĐŚĂƐŽŶǁƌŽƚĞ
       ŚĞǁĂƐƌĞĂĚǇ͞ƚŽŐŽŚĂƌĚǁŝƚŚĂĐƚŝǀŝƐŵ͟ĂŶĚDŝƐĞůŝƐƌĞƉůŝĞĚ͕͞΀&΁ŽƌƚŚĞƚŝŵĞďĞŝŶŐ/ƚŚŝŶŬĞǀĞƌǇŽŶĞŝƐůĂǇŝŶŐĂ
       ůŝƚƚůĞůŽǁŽŶĂĐĐŽƵŶƚŽĨ΀ŚĂƌůŽƚƚĞƐǀŝůůĞ΁ĨĂůůŽƵƚ͕͟ĂŶĚ;ϮͿƚŚĞEŽǀĞŵďĞƌϮϬϭϳƚĞǆƚĞǆĐŚĂŶŐĞďĞƚǁĞĞŶZƵŶĚŽĂŶĚ
       DŝƐĞůŝƐ͞ĂďŽƵƚĐƌĞĂƚŝŶŐĂǀŝĚĞŽƉƌŽŵŽƚŝŶŐZD͘͟;^ĞĞZƵŶĚŽŽŵƉůĂŝŶƚΒϱϰͲϱϲ͘Ϳ
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     ϯ͘ dŚĞƐƚĂƚƵƐŽĨŽƵƌĞĨĨŽƌƚƐƚŽŐĞƚŽǀĞƌůĂƉƉŝŶŐŝŶĨŽƌŵĂƚŝŽŶĨƌŽŵŽƚŚĞƌƐŽƵƌĐĞƐ͘
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&ĂĐĞďŽŽŬ͘tĞƐƵďƉŽĞŶĂĞĚ&ĂĐĞďŽŽŬĨŽƌǀĂƌŝŽƵƐƌĞůĞǀĂŶƚĚĞĨĞŶĚĂŶƚĂŶĚƚŚŝƌĚͲƉĂƌƚǇĂĐĐŽƵŶƚƐ͕ŝŶĐůƵĚŝŶŐĞŶĂůĞǇ͛Ɛ͕ŝŶ
:ƵŶĞϮϬϭϵ͘&ĂĐĞďŽŽŬǁŝůůŶŽƚĂƚƚĞŵƉƚƚŽůŽĐĂƚĞĂĐĐŽƵŶƚƐĨŽƌǁŚŝĐŚǁĞĐĂŶŶŽƚƉƌŽǀŝĚĞĂƵŶŝƋƵĞĂĐĐŽƵŶƚ/ŽƌhZ>Žƌ
ĂĨĨŝůŝĂƚĞĚĞŵĂŝůĂĚĚƌĞƐƐŽƌƉŚŽŶĞŶƵŵďĞƌ͘tĞŚĂǀĞŶŽƚďĞĞŶĂďůĞƚŽĚŽƐŽĨŽƌĞŶĂůĞǇ͘&ĂĐĞďŽŽŬĂůƐŽŝŶĨŽƌŵĞĚƵƐůĂƐƚ
ŵŽŶƚŚƚŚĂƚĂĐĐŽƵŶƚƐŝƚƐƵƐƉĞŶĚĞĚĨŽƌǀŝŽůĂƚŝŶŐŝƚƐƉŽůŝĐŝĞƐĂŶĚĂĐĐŽƵŶƚƐƚŚĞŚŽůĚĞƌƉĞƌƐŽŶĂůůǇĚĞůĞƚĞĚŚĂǀĞďĞĞŶ
ƉĞƌŵĂŶĞŶƚůǇĞƌĂƐĞĚĨƌŽŵ&ĂĐĞďŽŽŬ͛ƐƐĞƌǀĞƌƐ͘dŚƵƐĞǀĞŶŝĨǁĞĐŽƵůĚƉƌŽǀŝĚĞ&ĂĐĞďŽŽŬǁŝƚŚƐƵĨĨŝĐŝĞŶƚŝĚĞŶƚŝĨǇŝŶŐ
ŝŶĨŽƌŵĂƚŝŽŶĨŽƌĞŶĂůĞǇ͛ƐĂĐĐŽƵŶƚ͕&ĂĐĞďŽŽŬŵĂǇŶŽůŽŶŐĞƌŵĂŝŶƚĂŝŶĂŶǇŽĨŚŝƐĂĐĐŽƵŶƚĚĂƚĂ͘&ŝŶĂůůǇ͕&ĂĐĞďŽŽŬǁŝůů
ŶŽƚĂŐƌĞĞƚŽƉƌŽĚƵĐĞĂŶǇĂĐĐŽƵŶƚĚĂƚĂƵŶůĞƐƐƚŚĞĂĐĐŽƵŶƚŚŽůĚĞƌƉƌŽǀŝĚĞƐĂŶ^ĐŽŶƐĞŶƚ͘tĞĚŽŶŽƚŚĂǀĞĞŶĂůĞǇ͛Ɛ
^ĐŽŶƐĞŶƚ͘
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ĞůůWŚŽŶĞĂƚĂ͘tĞĂƌĞƵŶĂǁĂƌĞŽĨĂŶǇŽƚŚĞƌƐŽƵƌĐĞĨŽƌƚŚĞĞůĞĐƚƌŽŶŝĐĐŽŶƚĞŶƚŽĨĂĐĞůůƉŚŽŶĞǁŝƚŚŝŶƚŚĞĐƵƐƚŽĚǇŽĨ
ůĂǁĞŶĨŽƌĐĞŵĞŶƚ͘ǀĞŶŝĨǁĞǁĞƌĞĂďůĞƚŽŝĚĞŶƚŝĨǇƚŚĞƌĞůĞǀĂŶƚŝŶĚŝǀŝĚƵĂůƐ͛ƉŚŽŶĞŶƵŵďĞƌƐĂŶĚƐĞƌǀŝĐĞƉƌŽǀŝĚĞƌƐ͕ǁŚŝĐŚ
ĂƐǇĞƚǁĞŚĂǀĞŶŽƚďĞĞŶĂďůĞƚŽĚŽ͕ǁĞĐĂŶŶŽƚŽďƚĂŝŶƚŚŝƐŝŶĨŽƌŵĂƚŝŽŶƚŚƌŽƵŐŚĂƚŚŝƌĚͲƉĂƌƚǇƐƵďƉŽĞŶĂŽŶƚŚĞĐĞůůƉŚŽŶĞ
ƐĞƌǀŝĐĞƉƌŽǀŝĚĞƌƐ͕ǁŚŽƚǇƉŝĐĂůůǇĚŽŶŽƚƐƚŽƌĞĂŶĚǁŝůůŶŽƚƉƌŽǀŝĚĞƚŚĞĐŽŶƚĞŶƚŽĨŝƚƐĐƵƐƚŽŵĞƌƐ͛ĐŽŵŵƵŶŝĐĂƚŝŽŶƐ͘
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ƵƐƚŽŵƐĂŶĚŽƌĚĞƌWĂƚƌŽůZĞƉŽƌƚƐ͘dŚĞƐĞƌĞƉŽƌƚƐǁĞƌĞƉƌŽǀŝĚĞĚƚŽƚŚĞĞǆƉĞƌƚƌĞƚĂŝŶĞĚďǇƚŚĞƉƌŽƐĞĐƵƚŽƌƐǁŚŽ
ƉƌŽƐĞĐƵƚĞĚƚŚĞZƵŶĚŽĐĂƐĞŝŶƚŚĞĞŶƚƌĂůŝƐƚƌŝĐƚŽĨĂůŝĨŽƌŶŝĂ͘tĞƐŽƵŐŚƚƉĞƌŵŝƐƐŝŽŶĨƌŽŵƚŚŽƐĞƉƌŽƐĞĐƵƚŽƌƐƚŽŽďƚĂŝŶ
ƚŚĞƌĞƉŽƌƚĨƌŽŵƚŚĞĞǆƉĞƌƚ͘dŚŽƐĞƉƌŽƐĞĐƵƚŽƌƐĚĞĨĞƌƌĞĚƚŚĂƚƋƵĞƐƚŝŽŶƚŽƚŚĞƉƌŽƐĞĐƵƚŽƌƐƌĞƐƉŽŶƐŝďůĞĨŽƌƚŚĞZD
ƉƌŽƐĞĐƵƚŝŽŶŝŶƚŚĞtĞƐƚĞƌŶŝƐƚƌŝĐƚŽĨsŝƌŐŝŶŝĂ͘
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WůĞĂƐĞůĞƚŵĞŬŶŽǁŝĨǇŽƵŚĂǀĞĂŶǇŽƚŚĞƌƋƵĞƐƚŝŽŶƐ͘dŚĂŶŬƐ͘
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&ƌŽŵ͗tŝŶŶ͕^ĂƌĂ;h^stͿф^ĂƌĂ͘tŝŶŶΛƵƐĚŽũ͘ŐŽǀх
^ĞŶƚ͗DŽŶĚĂǇ͕&ĞďƌƵĂƌǇϮϰ͕ϮϬϮϬϵ͗ϱϯD
dŽ͗DŝĐŚĂĞůůŽĐŚфŵďůŽĐŚΛŬĂƉůĂŶŚĞĐŬĞƌ͘ĐŽŵх
Đ͗^ŝĞŐĞů͕:ŽƐŚƵĂфũƐŝĞŐĞůΛĐŽŽůĞǇ͘ĐŽŵх͖tŝƚŚĞƌƐ͕EĂŶĐǇ;h^stͿфEĂŶĐǇ͘tŝƚŚĞƌƐΛƵƐĚŽũ͘ŐŽǀх͖ƵďĂƌ͕ĂŶŝĞů
;h^stͿфĂŶŝĞů͘ƵďĂƌΛƵƐĚŽũ͘ŐŽǀх͖DŝůůƐ͕ĂǀŝĚфĚŵŝůůƐΛĐŽŽůĞǇ͘ĐŽŵх͖WĂĚŵĂŶĂďŚĂŶ͕<ĂƌƚŝĐ;K'Ϳ;&/Ϳ
ф<WDE,EΛĨďŝ͘ŐŽǀх͖ŬĂƌĞŶ͘ŵ͘ůĞĞďΛĐďƉ͘ĚŚƐ͘ŐŽǀ
^ƵďũĞĐƚ͗Z͗hŶŝƚĞĚƚŚĞZŝŐŚƚZĂůůǇĂŶĚZDŽĐƵŵĞŶƚƐ
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dŚĂŶŬǇŽƵDŝŬĞ͘/ƚǁĂƐĂƉůĞĂƐƵƌĞƚŽƐƉĞĂŬǁŝƚŚǇŽƵĂŶĚǇŽƵƌƚĞĂŵůĂƐƚǁĞĞŬ͕ĂŶĚƚŚĂŶŬǇŽƵĨŽƌƚŚŝƐĨƵƌƚŚĞƌ
ŝŶĨŽƌŵĂƚŝŽŶ͘tŽƵůĚǇŽƵĂůƐŽĚĞƚĂŝůƚŚĞĨŽůůŽǁŝŶŐ͗
        ϭ͘ dŚĞϴŝŶƚĞƌǀŝĞǁƌĞƉŽƌƚƐǇŽƵƐĞĞŬŝŶƉĂƌĂŐƌĂƉŚƐϭĂŶĚϮ͖
        Ϯ͘ dŚĞƉĂƌƚƐŽĨDƌ͘ĂůĞǇ͛ƐƉŚŽŶĞǇŽƵƐĞĞŬŝŶƉĂƌĂŐƌĂƉŚϯ͖ĂŶĚ
        ϯ͘ dŚĞƐƚĂƚƵƐŽĨǇŽƵƌĞĨĨŽƌƚƐƚŽŐĞƚŽǀĞƌůĂƉƉŝŶŐŝŶĨŽƌŵĂƚŝŽŶĨƌŽŵŽƚŚĞƌƐŽƵƌĐĞƐ͘
ZĞŐĂƌĚƐ͕^ĂƌĂ͘
Sara Bugbee Winn
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&ƌŽŵ͗DŝĐŚĂĞůůŽĐŚфŵďůŽĐŚΛŬĂƉůĂŶŚĞĐŬĞƌ͘ĐŽŵх
^ĞŶƚ͗&ƌŝĚĂǇ͕&ĞďƌƵĂƌǇϮϭ͕ϮϬϮϬϭϭ͗ϱϵWD
dŽ͗DŝůůƐ͕ĂǀŝĚфĚŵŝůůƐΛĐŽŽůĞǇ͘ĐŽŵх͖tŝŶŶ͕^ĂƌĂ;h^stͿф^tŝŶŶΛƵƐĂ͘ĚŽũ͘ŐŽǀх
Đ͗^ŝĞŐĞů͕:ŽƐŚƵĂфũƐŝĞŐĞůΛĐŽŽůĞǇ͘ĐŽŵх͖tŝƚŚĞƌƐ͕EĂŶĐǇ;h^stͿфEtŝƚŚĞƌƐΛƵƐĂ͘ĚŽũ͘ŐŽǀх
^ƵďũĞĐƚ͗Z͗hŶŝƚĞĚƚŚĞZŝŐŚƚZĂůůǇĂŶĚZDŽĐƵŵĞŶƚƐ
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dŚĂŶŬǇŽƵĂůůĨŽƌƚŚĞĐĂůůƚŚŝƐǁĞĞŬ͘ƐĚŝƐĐƵƐƐĞĚ͕/ǁƌŝƚĞƚŽĐŽŶĨŝƌŵƚŚĞĨŽůůŽǁŝŶŐ͗
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ZĞŐĂƌĚŝŶŐŽƵƌĚŽĐƵŵĞŶƚƌĞƋƵĞƐƚEŽ͘ϰ͕ǁĞĂŐƌĞĞƚŽŶĂƌƌŽǁŽƵƌƌĞƋƵĞƐƚƚŽƌĞŵŽǀĞƌĞĨĞƌĞŶĐĞƐƚŽdǁŝƚƚĞƌĂŶĚzŽƵdƵďĞ͘
tĞĂůƐŽĐůĂƌŝĨǇƚŚĂƚǁĞĂƌĞƌĞƋƵĞƐƚŝŶŐƚŚĞĨŽůůŽǁŝŶŐƐŽĐŝĂůŵĞĚŝĂĂĐĐŽƵŶƚĚĂƚĂ͗
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    x &ĂĐĞďŽŽŬŵĞƐƐĂŐĞďǇĂůĞǇǁŚĞƌĞŝŶŚĞĂĚŵŝƚƚĞĚ͗͞tĞŚĂĚƚŚĞŵĐŽŵƉůĞƚĞůǇƐƵƌƌŽƵŶĚĞĚ͘/ŚŝƚůŝŬĞϱƉĞŽƉůĞ͟ŝŶ
         ƌĞĨĞƌĞŶĐĞƚŽƚŚĞƚŽƌĐŚůŝŐŚƚŵĂƌĐŚŽĨƵŐƵƐƚϭϭ͕ĂƐƌĞĨĞƌĞŶĐĞĚŝŶΒϮϭƚŚĞĨĨŝĚĂǀŝƚŝŶ^ƵƉƉŽƌƚŽĨƌƌĞƐƚtĂƌƌĂŶƚ
         ĂŶĚƌŝŵŝŶĂůŽŵƉůĂŝŶƚŝŶhŶŝƚĞĚ^ƚĂƚĞƐǀ͘ĞŶũĂŵŝŶƌĂŬĞĂůĞǇ͕ϭϴͲZͲϬϬϬϮϱĨŝůĞĚŝŶƚŚĞtĞƐƚĞƌŶŝƐƚƌŝĐƚŽĨ
         sŝƌŐŝŶŝĂ͘
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    x WƌŝǀĂƚĞ&ĂĐĞďŽŽŬŵĞƐƐĂŐĞƐƐĞŶƚďǇĞŶĂůĞǇŝŶŽƌĂƌŽƵŶĚ:ƵŶĞϮϬϭϳǁŚŝĐŚĚŝƐĐƵƐƐZDďĞŝŶŐ͞ŽƌŝŐŝŶĂůůǇ
         ďƌĂŶĚĞĚĂƐƚŚĞ͚/z/s/^/KE͕͛ďƵƚĨŽƌŵĂůůǇƌĞďƌĂŶĚĞĚƚŽƚŚĞZŝƐĞďŽǀĞDŽǀĞŵĞŶƚŝŶϮϬϭϳ͘͟;^ĞĞZƵŶĚŽ
         ŽŵƉůĂŝŶƚΒϵ͘Ϳ
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    x dŚĞĐŽŶƚĞŶƚƐŽĨĂůĞǇ͛Ɛ&ĂĐĞďŽŽŬƉĂŐĞƚŚĂƚǁĞƌĞƌĞǀŝĞǁĞĚďǇŐĞŶƚ^ĐŽƚƚŝĞƌǁĞƌƚŚƉƵƌƐƵĂŶƚƚŽĂƐĞĂƌĐŚ
         ǁĂƌƌĂŶƚŝƐƐƵĞĚŽŶƉƌŝůϰ͕ϮϬϭϴĨƌŽŵ,ŽŶ͘:ŽĞů͘,ŽƉƉĞ͕tĞƐƚĞƌŶŝƐƚƌŝĐƚŽĨsŝƌŐŝŶŝĂ͘;^ĞĞZƵŶĚŽŽŵƉůĂŝŶƚΒϵ
         Ŷ͘Ϯ͕ǁŚŝĐŚĚŽĞƐŶŽƚƉƌŽǀŝĚĞĂĚĂƚĞĨŽƌƚŚĂƚ&ĂĐĞďŽŽŬĚĂƚĂ͘Ϳ
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    x WƌŝǀĂƚĞ&ĂĐĞďŽŽŬŵĞƐƐĂŐĞƐďĞƚǁĞĞŶĂůĞǇĂŶĚĂŶƵŶŶĂŵĞĚĂƐƐŽĐŝĂƚĞĚĂƚĞĚƵŐƵƐƚϮϱ͕ϮϬϭϳŝŶǁŚŝĐŚƚŚĞǇ
         ĚŝƐĐƵƐƐŵĞĞƚŝŶŐƵƉ͞ŝŶ>ĂƌĞĂ͟ĂŶĚ͞ƚŚĞϴϬƐŝŶƚŚĂƚƐƚǇůĞŽĨŶĂƚŝŽŶĂůŝƐŵ͘͟;^ĞĞZƵŶĚŽŽŵƉůĂŝŶƚΒϭϯ͘Ϳ
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    x WƌŝǀĂƚĞ&ĂĐĞďŽŽŬŵĞƐƐĂŐĞƐďĞƚǁĞĞŶĂůĞǇĂŶĚĂŶƵŶŶĂŵĞĚĂƐƐŽĐŝĂƚĞĨƌŽŵ:ĂŶƵĂƌǇϮϬϭϴŝŶǁŚŝĐŚĂůĞǇĂĚǀŝƐĞƐ
         ƚŽ͞ďĞŵŝŶĚĨƵůŽĨƐĂǇŝŶŐĂŶǇƚŚŝŶŐƚŚĂƚĐŽƵůĚďĞŵŝƐĐŽŶƐƚƌƵĞĚĂƐĂĐĂůůƚŽǀŝŽůĞŶĐĞ͘͟;^ĞĞZƵŶĚŽŽŵƉůĂŝŶƚΒϭϯ͘Ϳ
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Michael Bloch | Kaplan Hecker & Fink LLP
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Counsel
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350 Fifth Avenue | Suite 7110
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New York, New York 10118
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           Sara Bugbee Winn
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           &ƌŽŵ͗DŝůůƐ͕ĂǀŝĚфĚŵŝůůƐΛĐŽŽůĞǇ͘ĐŽŵх
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Case 3:17-cv-00072-NKM-JCH Document 816-18 Filed 07/24/20 Page 9 of 10 Pageid#:
                                   31026
 Hello David. Your subpoena and cover letter were forwarded to me. We
 will process your request under the Touhy regulations and get back to you
 on or before the Feb. 17, 2020 return date. In the meantime, please feel
 free to reach out with any questions or concerns.
 Regards, Sara.
 Sara Bugbee Winn
 Assistant United States Attorney
 Civil Division
 540-857-2913
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            &ƌŽŵ͗ΗDŝůůƐ͕ĂǀŝĚΗфĚŵŝůůƐΛĐŽŽůĞǇ͘ĐŽŵх
            ĂƚĞ͗:ĂŶƵĂƌǇϭϳ͕ϮϬϮϬĂƚϭ͗Ϯϭ͗ϬϵWD^d
            dŽ͗Η<ĂǀĂŶĂƵŐŚ͕ŚƌŝƐƚŽƉŚĞƌ;h^stͿΗф<ĂǀĂŶĂƵŐŚΛƵƐĂ͘ĚŽũ͘ŐŽǀх
            Đ͗Η^ŝĞŐĞů͕:ŽƐŚƵĂΗфũƐŝĞŐĞůΛĐŽŽůĞǇ͘ĐŽŵх
            ^ƵďũĞĐƚ͗hŶŝƚĞĚƚŚĞZŝŐŚƚZĂůůǇĂŶĚZDŽĐƵŵĞŶƚƐ

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            ŚƌŝƐʹ/ƚ͛ƐďĞĞŶĂǁŚŝůĞƐŝŶĐĞǁĞĐŽŶŶĞĐƚĞĚ͘/ŚŽƉĞǇŽƵŚĂĚĂŐŽŽĚŚŽůŝĚĂǇ͘tĞ
            ĐŽŶƚŝŶƵĞƚŽǁŽƌŬƚŚƌŽƵŐŚƚŚĞĚŽĐƵŵĞŶƚƐƉƌŽĚƵĐĞĚďǇƚŚĞŝƚǇŽĨŚĂƌůŽƚƚĞƐǀŝůůĞŝŶĂŶ
            ĞĨĨŽƌƚƚŽŶĂƌƌŽǁƚŚĞƐĞƚŽĨĚŽĐƵŵĞŶƚƐǁĞŶĞĞĚĨƌŽŵƚŚĞĨĞĚĞƌĂůŐŽǀĞƌŶŵĞŶƚĐŽŶĐĞƌŶŝŶŐ
            :ĂŵĞƐ&ŝĞůĚƐ͘tĞǁŝůůĨŽůůŽǁƵƉǁŝƚŚ^ĂƌĂŚtŝŶŶŝŶƚŚĞŶĞǆƚǁĞĞŬŽƌƚǁŽ͘^ĞƉĂƌĂƚĞůǇ͕
            ŽƵƌƚƌŝĂůƚĞĂŵŝƐŝƐƐƵŝŶŐƚŚĞĂƚƚĂĐŚĞĚƐƵďƉŽĞŶĂĨŽƌĚŽĐƵŵĞŶƚƐĐŽŶĐĞƌŶŝŶŐƐŽŵĞŽĨƚŚĞ
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            ƐĐŽƉĞ͕ĂĚĚƌĞƐƐƚŝŵŝŶŐŽƌĂŶǇŽƚŚĞƌŝƐƐƵĞƐǇŽƵƐĞĞ͘/ƌĞĂůŝǌĞƚŚĂƚƚŚŝƐŝƐůŝŬĞůǇƚŽďĞ
            ŚĂŶĚůĞĚďǇ^ĂƌĂŚ͕ĂŶĚǁĞǁŝůůďĞŚĂƉƉǇƚŽǁŽƌŬǁŝƚŚŚĞƌŽŶƚŚĞƐĞŝƐƐƵĞƐ͘WůĞĂƐĞůĞƚŵĞ
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